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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF MAINE

WILLIAM DONAHUE, PATRICK DONAHUE
and WJDEND, LLC d/b/a FIVE STAR AUTO
SALES, LLC,

                Plaintiffs,

         vs.                                                      Civil No. 20-480-JAW

CITY OF BIDDEFORD, BIDDEFORD POLICE
DEPARTMENT, OFFICER VICTOR PARKER,
OFFICER SHAWN CLOUTIER, and CHIEF
ROGER BEAUPRE,

                Defendants



       ANSWER TO COMPLAINT, AFFIRMATIVE DEFENSES AND JURY TRIAL
                      DEMAND (ALL DEFENDANTS)

         Defendants City of Biddeford, Biddeford Police Department, Officer Victor Parker,

Officer Shawn Cloutier, and Chief Roger Beaupre1, by and through counsel, hereby respond to

the Plaintiffs’ Complaint as follows:

                                        NATURE OF ACTION

         1.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

                              PARTIES, JURISDICTION, AND VENUE

         2.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.




1The Plaintiffs’ Complaint erroneously spells Chief Beaupre’s name as “Beauppre.” For the sake of
accuracy, the Defendants will use the correct spelling.
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       3.      The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       4.      The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       5.      The Defendants admit that the City of Biddeford is a Maine municipality located

in York County. The Defendants admit that the City operates a police department. The

remaining allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the remaining allegations

contained in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       6.      The Defendants admit Defendant Parker is a Maine citizen and a police officer

employed by the City of Biddeford. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       7.      The Defendants admit Defendant Cloutier is a Maine citizen and a police officer

employed by the City of Biddeford. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       8.      The Defendants admit Defendant Beaupre is a Maine citizen and police chief for

the City of Biddeford. The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the remaining allegations contained in this paragraph of Plaintiffs’

Complaint and, accordingly, deny same.

       9.      The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

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sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       10.     The Defendants admit the Plaintiffs served the Defendants with a notice of claim

that was untimely under the Maine Tort Claims Act, 14 M.R.S. § 8107. The Defendants are

without sufficient information or knowledge to form a belief as to the truth of the remaining

allegations contained in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       11.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

                                      STATEMENT OF CASE

       12.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       13.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       14.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       15.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       16.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.



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       17.      The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       18.      The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       19.      The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       20.      The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       21.      The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

 COUNT I – VIOLATIONS OF THE FOURTEENTH AMENDMENT AND 42 U.S.C. §
                       1983 v. ALL DEFENDANTS

       22.      The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       23.      The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in the first clause of this paragraph of Plaintiffs’

Complaint and, accordingly, deny same. The remaining allegations contained in this paragraph

of the Plaintiffs’ Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a belief as




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to the truth of the remaining allegations contained in this paragraph of Plaintiffs’ Complaint

and, accordingly, deny same.

       24.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       25.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       26.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       27.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       28.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       29.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.




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       30.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       31.     The Defendants deny the premise of the allegations contained in the first

sentence of this paragraph of the Plaintiffs’ Complaint and therefore deny the allegations

contained in the first sentence of this paragraph of the Plaintiffs’ Complaint. The remaining

allegations contained in this paragraph of the Plaintiffs’ Complaint constitute assertions of law

to which no response is required. Alternatively, the Defendants are without sufficient

information or knowledge to form a belief as to the truth of the remaining allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       32.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       33.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       34.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       35.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       36.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       37.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

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       38.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       39.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       40.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       41.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

    COUNT II – 5 M.R.S.A. 4682 MAINE CIVIL RIGHTS ACT VIOLATION v. ALL
                                DEFENDANTS

       42.     The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       43.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       44.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       45.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.




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       46.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       47.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       48.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       49.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

          COUNT III – DEFAMATION AND SLANDER v. ALL DEFENDANTS

       50.     The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       51.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       52.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       53.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       54.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.



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       55.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

                    COUNT IV – FALSE LIGHT v. ALL DEFENDANTS

       56.     The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       57.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       58.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       59.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       60.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

    COUNT V – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS v. ALL
                            DEFENDANTS

       61.     The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       62.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       63.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.




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       64.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       65.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       66.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       67.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       68.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       69.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       70.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       71.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

     COUNT VI – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS v. ALL
                             DEFENDANTS

       72.     The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.


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       73.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       74.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       75.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       76.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       77.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       78.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       79.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       80.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       81.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.




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  COUNT VII – 42 U.S.C. 1983 SUPERVISORY VIOLATION v. ALL DEFENDANTS
     AND CHIEF OF POLICE BEAUPPRE [sic] AND BIDDEFORD POLICE
                               DEPARTMENT

       82.     The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       83.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       84.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       85.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       86.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       87.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       88.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       89.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

       90.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

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        91.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

        92.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

        93.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiffs’ Complaint and therefore deny the allegations contained in this paragraph of the

Plaintiffs’ Complaint.

        94.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

        95.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

                                      AFFIRMATIVE DEFENSES

        1.      The Defendants have at all times acted in good faith and without knowledge that

their conduct violated any clearly established constitutional or statutory rights of the Plaintiffs.

        2.      The Defendants’ conduct did not violate any clearly established constitutional or

statutory rights of the Plaintiffs.

        3.      No reasonable person would have known that the Defendants’ conduct violated

any clearly established constitutional or statutory rights of the Plaintiffs.

        4.      To the extent that the Plaintiffs endeavor to make a state claim grounded in tort,

the Defendants reserve the right to demonstrate that the claim is barred by Plaintiffs’ failure to

comply with the notice provisions of the Maine Tort Claims Act, 14 M.R.S.A. § 8107.

        5.      To the extent that the Plaintiffs endeavor to make a state claim grounded in tort,

the claim is barred by immunity provisions provided to the Defendants by the Maine Tort

Claims Act, including, but not limited to, 14 M.R.S.A. § 8103, 8104-B, and 8111.



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       6.      The Plaintiffs’ recoverable damages for tort claims are capped by the provisions

of the Maine Tort Claims Act.

       7.      To the extent that the Plaintiffs’ Complaint seeks to impose liability on the

Defendants in their representative capacity, the Complaint fails to state a claim upon which

relief may be granted.

       8.      The Plaintiffs’ own conduct was the sole or a contributing cause of their injuries,

which bars or reduces any recovery.

       9.      The Plaintiffs’ Complaint, in whole or in part, fails to state a claim upon which

relief may be granted.

       10.     The Plaintiffs’ claims are barred for the reason that the Defendants are not liable

under a theory of respondeat superior for the actions of their agents.

       11.     The Plaintiffs’ claims against the City are barred for the reason that the Plaintiff

cannot demonstrate a custom or policy of the City that was the moving force behind any

constitutional violations.

       12.     The Plaintiffs’ claims are barred for the reason that the Defendants’ actions do

not constitute deliberate indifference or conduct which is shocking to the conscience.

       13.     The Plaintiffs’ claims are barred for the reason that the conduct alleged in the

Complaint is not the type contemplated for the purposes of liability under 42 U.S.C. § 1983.

       14.     The Plaintiffs’ claims are barred, in whole or in part, by the doctrine of immunity.

       15.     The Plaintiffs’ claims are barred, in whole or in part, by the doctrine of qualified

immunity.

       16.     The Plaintiffs’ claims are barred, in whole or in part, by the doctrine of privilege.

       17.     The Plaintiffs’ claims are barred, in whole or in part, to the extent the alleged

statements by the Defendants were true.

       18.     The Plaintiffs’ claims are barred, in whole or in part, to the extent the alleged

statements by the Defendants were expressions of opinion.

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       19.     To the extent that the Plaintiffs seek injunctive or declaratory relief, the Plaintiff

has no standing.

       20.     The Plaintiffs have adequate remedies under State law, and therefore no action

lies under 42 U.S.C. §1983 in the Maine Constitution or the United States Constitution.

       21.     The Defendants reserve the right to demonstrate that the Plaintiffs have failed to

mitigate damages.

       22.     To the extent the Plaintiff’s alleged injuries result from conditions that pre-

existed the events alleged in the Complaint, the Defendants cannot be held liable for the alleged

damages associated with those alleged injuries.

       23.     To the extent the Plaintiffs have asserted claims against entities that are not

subject to suit, the claims are barred.

                                           JURY DEMAND

       Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the Defendants

request a trial by jury on all claims and issues properly tried to a jury.

       WHEREFORE, Defendants City of Biddeford, Biddeford Police Department, Officer

Victor Parker, Officer Shawn Cloutier, and Chief Roger Beaupre demand judgment in their favor

with regard to all claims of the Plaintiffs’ Complaint, including an award of costs and attorneys’

fees, if appropriate, and such other relief as the Court deems just.

       Dated at Portland, Maine this 3rd day of January, 2021.

                                                 Attorneys for Defendants City of Biddeford,
                                                 Biddeford Police Department, Officer Victor Parker,
                                                 Officer Shawn Cloutier, and Chief Roger Beaupre
                                                 MONAGHAN LEAHY, LLP
                                                 95 Exchange Street, P.O. Box 7046
                                                 Portland, ME 04112-7046
                                                 (207) 774-3906
                                          BY:    /s/ John J. Wall, III
                                                 John J. Wall, III




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 3, 2021, I electronically filed Answer to Complaint,
Affirmative Defenses and Jury Trial Demand (All Defendants) using the CM/ECF
system, which will provide notice to me and all other parties through their registered counsel of
record including: jbennett@legal-ease.com.

       Dated at Portland, Maine this 3rd day of January, 2021.

                                                 Attorneys for Defendants City of Biddeford,
                                                 Biddeford Police Department, Officer Victor Parker,
                                                 Officer Shawn Cloutier, and Chief Roger Beaupre
                                                 MONAGHAN LEAHY, LLP
                                                 95 Exchange Street, P.O. Box 7046
                                                 Portland, ME 04112-7046
                                                 (207) 774-3906
                                        BY:      /s/ John J. Wall, III
                                                 John J. Wall, III




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